         Case 3:19-cv-04405-WHO Document 1019 Filed 04/01/22 Page 1 of 3




1    Amy Cordalis
     4856 29th St N
2    Arlington VA
3    22207
     Telephone: 541-915-3033
4    acordalis@ridgestoriffles.org
5
6    Attorneys for Plaintiff

7                             UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
8                                SAN FRANCISCO DIVISION
9
10    YUROK TRIBE, on its own behalf and           )
      on behalf of its members, and                )
11                                                 )
      Plaintiffs,                                  )
12                                                 )
                                                        Case No. 3:20-cv-05891-WHO
13            v.                                   )
                                                   )
14                                                      Related Case: No. 3:19-cv-04405-WHO
      U.S. BUREAU OF RECLAMATION,                  )
                                                   )
15                                                      JOINT STIPULATION TO EXTEND TIME
                                                   )
      Defendant.                                        TO RESPOND TO KID MOTION TO
16                                                 )
                                                        INTERVENE AND CROSS COMPLAINT
                                                   )
17                                                 )
                                                        Judge: Hon. William H. Orrick
                                                   )
18
                                                   )
19                                                 )
                                                   )
20                                                 )
21
            Plaintiff Yurok Tribe (“Tribe”), Defendant U.S. Bureau of Reclamation (“Bureau”), and
22
     proposed intervenor Klamath Irrigation District (“KID”) hereby stipulate to extend the Tribe’s
23
     and Bureau’s time to respond to KID’s Motion to Intervene and Memorandum in Support
24
     (“Motion”) (ECF No. 33) by seven (7) days to April 8, 2022.
25
26          Proposed intervenor KID filed the Motion in this case on March 18, 2022. KID noticed
27   the motion for hearing on April 27, 2022. Under Local Rule 7-3, responses are currently due
28

     Joint Stipulation to Extend Time to Respond to KID Motion to Intervene (3:20-cv-05891-WHO)

                                               Page 1
         Case 3:19-cv-04405-WHO Document 1019 Filed 04/01/22 Page 2 of 3




1    April 1, and replies are due April 8. The Tribe, the Bureau, and KID jointly stipulate to a one-
2    week extension of all dates in connection with KID’s motion to intervene, with responses due
3    April 8, 2022, replies due April 15, 2022, and the hearing to be moved to May 4, 2022.
4           IT IS SO STIPULATED
5           Dated: April 1st, 2022
6
                                                   Respectfully submitted,
7
8                                                  /s/
                                                   AMY CORDALIS
9
                                                    4856 29th N
10                                                  Arlington VA, 22207
                                                   Telephone: 541-915-3033
11                                                 acordalis@ridgestoriffles.org
12
                                                   Attorney for Plaintiff Yurok Tribe
13
                                                   TODD KIM
14                                                 Assistant Attorney General
15
16                                                 /s/(permission on 3/28/22)
                                                   THOMAS K. SNODGRASS, Sr. Attorney
17                                                 U.S. Department of Justice
18                                                 Environment & Natural Resources Division
                                                   Natural Resources Section
19                                                 999 18th Street, South Terrace, Suite 370
                                                   Denver, CO 80202
20                                                 Telephone: 303-844-7233
21                                                 thomas.snodgrass@usdoj.gov

22                                                 Attorneys for Defendant U.S. Bureau of
                                                   Reclamation
23
24                                                 WANGER JONES HELSLEY PC

25
                                                   By: /s (permission on 3/28/22)
26
                                                   John P. Kinsey
27                                                 Christopher A. Lisieski
                                                   Attorneys for proposed intervenor KLAMATH
28                                                 IRRIGATION DISTRICT
     Joint Stipulation to Extend Time to Respond to KID Motion to Intervene (3:20-cv-05891-WHO)

                                               Page 2
        Case 3:19-cv-04405-WHO Document 1019 Filed 04/01/22 Page 3 of 3




1
2           PURSUANT TO STIPULATION, IT IS SO ORDERED
3
     Dated: April 1, 2022
4
5
6
                                                  William H. Orrick,
7                                                 United States District Court Judge

8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Joint Stipulation to Extend Time to Respond to KID Motion to Intervene (3:20-cv-05891-WHO)

                                               Page 3
